          Case 1:25-md-03143-SHS-OTW              Document 167       Filed 06/13/25                Page 1 of 1



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Re:      In re: OpenAI, Inc., Copyright Infringement Litigation, 1:25-md-03143-SHS-OTW;
         this document relates to Daily News, LP, et al. v. Microsoft Corporation, et al.,
         1:24-cv-3285-SHS-OTW

Dear Magistrate Judge Wang:

        I write on behalf of Plaintiffs Daily News, LP, et al. (“Plaintiffs”) in response to OpenAI’s
request for a pre-motion conference to address OpenAI’s Requests for Admission Nos. 11-20.
While Plaintiffs stand by their objections, Plaintiffs have agreed to supplement and admit or deny
these requests on the merits by no later than June 20.

        The parties conferred by telephone on June 12, and agree that this supplementation will
likely resolve this dispute.

June 13, 2025                                         Respectfully submitted,

                                                      /s/ Steven Lieberman
                                                      Steven Lieberman
                                                      Rothwell, Figg, Ernst & Manbeck, P.C.


cc:      All Counsel of Record (via ECF)
